        Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                                1/22/2020


    Jacob Schwartz,                                             1:19-cv-05204 (AT) (SDA)


                                    Plaintiff,
                                                                REPORT AND RECOMMENDATION
                        -against-

    City of New York,

                                    Defendant.



STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE.

TO THE HONORABLE ANALISA TORRES, UNITED STATES DISTRICT JUDGE:



          Before the Court is a motion by Defendant City of New York (“Defendant” or “City”),

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, to dismiss the Third Amended

Complaint (“TAC”) filed by Plaintiff Jacob Schwartz (“Plaintiff” or “Schwartz”).1 (Not. of Mot., ECF

No. 25.) For the reasons set forth below, I respectfully recommend that Defendant’s motion be

GRANTED IN PART and DENIED IN PART.




1
  In issuing this Report and Recommendation, the Court has reviewed and considered Defendant’s
memorandum of law in support of the motion to dismiss (Def. Mem., ECF No. 26); Plaintiff’s memorandum
of law in opposition to the motion (Pl. Opp. Mem., ECF No. 35); and Defendant’s reply memorandum in
support of the motion. (Def. Reply Mem., ECF No. 36.) The Court also had a discussion of the issues raised
in Defendant’s motion during a telephone conference with the parties on January 21, 2020 addressing
Plaintiff’s Letter Motion for Discovery. (Pl. Letter Motion, ECF No. 45.)
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 2 of 10




                                                FACTS2

        From on or about May 1, 2015 until May 20, 2017, Schwartz was employed by the City at

its Department of Design and Construction (“DDC”) in various titles as a “Provisional Employee.”

(TAC, ECF No. 24, ¶ 5.) His initial title was “Project Manager Intern” and on May 1, 2016 he was

promoted to Computer Programmer Analyst. (Id.) Schwartz was assigned to work a 35-hour work

week. (See id. ¶¶ 6-7.) If he worked more than 35 hours per week, he could choose to be paid

hourly wages or “bank [his] time as ‘Comp Time.’” (See id. ¶ 8.) When Schwartz worked on a

holiday, he “could also bank that time as Comp Time,” but “[h]oliday work was banked at 1.5

times the employee’s hourly rate.” (See id. ¶ 10.)

        During the course of his employment, Schwartz “worked in excess of 35 hours in a week

and banked his time” and also worked on holidays for which his time was banked. (See id.

¶¶ 11.a-b.) “As of May 20, 2017 [when he was terminated], according to his paycheck, [Schwartz]

had banked 457 hours and 10 minutes of Comp Time” and “also banked 26 hours and 38 minutes

of time worked on holidays.” (Id. ¶ 11.b.) Moreover, he had 21 hours and 16 minutes of “earned

annual leave which had not been used.” (Id. ¶ 13.) Despite numerous requests, Schwartz has not

been paid either straight time3 or overtime pay4 for any of the foregoing hours. (Id. ¶ 14.) He

received his last pay check on June 2, 2017. (Id. ¶ 13.)



2
 For purposes of deciding the motion to dismiss, all factual allegations contained in the TAC are assumed
to be true and all reasonable inferences are drawn in favor of the Plaintiff. See New Jersey Carpenters
Health Fund v. Royal Bank of Scotland Grp., PLC, 709 F.3d 109, 119 (2d Cir. 2013).
3
 Plaintiff alleges that the time banked in Comp time, “even if the time worked was in excess of 40 hours”
was “recorded as ‘straight time.’” (TAC ¶ 8.)
4
 The Fair Labor Standards Act requires that employers pay overtime to employees working more than 40
hours a week. 29 U.S.C. § 207(a). Schwartz identifies 33 weeks during which he worked more than 40
hours per week, totaling 144 overtime hours. (See TAC ¶ 11.c.)


                                                   2
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 3 of 10




       The TAC alleges four claims: (1) a violation of the Fair Labor Standards Act (“FLSA”) for

failure to pay Plaintiff his overtime pay (TAC ¶¶ 16-17); (2) a violation of Section 12-108 of the

Administrative Code of the City of New York for failure to pay Plaintiff his overtime pay (id. ¶¶ 18-

21); (3) breach of oral contract for failure to pay Plaintiff for his Comp Time (id. ¶¶ 22-25); and

(4) quantum meruit—i.e., that Plaintiff, at a minimum, should be paid his Comp Time at “the

straight-time hourly rate.” (Id. ¶¶ 26-28.)

                                         LEGAL STANDARDS

       “To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must allege

sufficient facts, taken as true, to state a plausible claim for relief.” Johnson v. Priceline.com, Inc.,

711 F.3d 271, 275 (2d Cir. 2013) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007));

see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In deciding a motion to dismiss, courts must

“accept all allegations in the complaint as true and draw all inferences in the non-moving party's

favor.” L.C. v. LeFrak Org., Inc., 987 F. Supp. 2d 391, 398 (S.D.N.Y. 2013) (quoting LaFaro v. N.Y.

Cardiothoracic Grp., PLLC, 570 F.3d 471, 475 (2d Cir. 2009)). “Although the statute of limitations

is ordinarily an affirmative defense that must be raised in the answer, a statute of limitations

defense may be decided on a Rule 12(b)(6) motion if the defense appears on the face of the

complaint.” Ellul v. Congregation of Christian Bros., 774 F.3d 791, 798 n.12 (2d Cir. 2014) (citing

Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008)).

                                              DISCUSSION

       The Court addresses the four arguments raised by Defendant in support of its motion to

dismiss in turn.




                                                   3
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 4 of 10




I.     FLSA Statute Of Limitations

       Defendant argues that Plaintiff’s FLSA claim is time-barred. (Def. Mem. at 1-4.) The

statute of limitations under the FLSA is generally two years, but extends to three years for willful

violations: “[E]very . . . action [to enforce a cause of action for overtime compensation under the

FLSA] shall be forever barred unless commenced within two years after the cause of action

accrued, except that a cause of action arising out of a willful violation may be commenced within

three years after the cause of action accrued.” 29 U.S.C. § 255(a).

       The question here is when Plaintiff’s FLSA claim accrued. Section 207(o)(1) of the FLSA

provides:

       Employees of a public agency which is a State, a political subdivision of a State, or
       an interstate governmental agency may receive, in accordance with this
       subsection and in lieu of overtime compensation, compensatory time off at a rate
       not less than one and one-half hours for each hour of employment for which
       overtime compensation is required by this section.

29 U.S.C. § 207(o)(1). Section 207(o)(4), upon which Plaintiff’s First Cause of Action is based (TAC

¶ 16), provides:

       An employee who has accrued compensatory time off authorized to be provided
       under paragraph (1) shall, upon termination of employment, be paid for the
       unused compensatory time at a rate of compensation not less than—

       (A) the average regular rate received by such employee during the last 3 years of
       the employee’s employment, or

       (B) the final regular rate received by such employee, whichever is higher.

29 U.S.C. § 207(o)(4).

       At the very earliest, Plaintiff’s First Cause of Action accrued upon his termination. See

Oliver v. Layrisson, No. 95-CV-00003 (MLS), 1996 WL 80097, at *2 (E.D. La. Feb. 21, 1996)

(applying 29 U.S.C. § 207(o)(4), court held: “Clearly, plaintiff’s cause of action for unused



                                                 4
       Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 5 of 10




compensatory time did not accrue until the date of his termination . . ..”), aff’d, 106 F.3d 397 (5th

Cir. 1997) (“As a legal matter, we agree with the district court that payment for unused

compensatory time is due ‘upon termination of employment’ under § 207(o)(4), that [plaintiff’s]

claim for this payment accrued on the date of termination, and that suit therefore was timely

brought within two years of this date.”).5

        In the present case, Plaintiff was terminated on May 20, 2017. (TAC ¶ 12.) His last pay

check was on June 2, 2017. (TAC ¶ 13.) However, since Plaintiff could not have known that he

was not paid for his accrued compensatory time until he received his last pay check, the Court

finds that his cause of action under Section 207(o)(4) did not accrue until June 2, 2017.6 This case

was filed on Monday, June 3, 2019. Since the last day of the limitations period (i.e., June 2, 2019)

was a Sunday, the statute of limitations expired on Monday, the very day this case was filed. See

Fed. R. Civ. P. 6(a)(1)(C). Thus, even if a two-year statute of limitation applies here, Plaintiff’s First

Cause of Action is timely.

        Even assuming, arguendo, that Plaintiff’s First Cause of Action accrued upon his

termination on May 20, 2017 (rather than the day of his last pay check), such cause of action

would be timely if a three-year statute of limitations for willful violations applies. See 29 U.S.C. §

255(a). Under the FLSA, the plaintiff bears the burden of proving willfulness for purposes of



5
  See also Burnett v. Walker Cty. Comm’n, No. 13-CV-01506 (HNJ), 2018 U.S. Dist. LEXIS 114572, *3 (N.D.
Ala. May 16, 2018) (“To the extent a limitations period applies [to FLSA claim for unused compensatory
time], it serves to preclude liability if a plaintiff files suit on this provision beyond the two- or three-year
period following termination . . ..”).
6
 The City argues that Plaintiff’s FLSA claim accrued “each regular payday immediately following the
workweek during which services were rendered and for which overtime compensation is claimed.” (Def.
Mem. at 2.) However, since payment of unused compensatory time was not due until termination, see 29
U.S.C. § 207(o)(4), the Court finds that Plaintiff’s claim accrued on his last payday after his termination.


                                                       5
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 6 of 10




expanding the statute of limitations to three years, and “[a]ll that is required is that the employer

knew or had reason to know that it was or might have been subject to the FLSA.” Juarez-Cardoso

v. La Flor de Santa Ines, Inc., No. 15-CV-06671, 2017 WL 4357009, at *11 (E.D.N.Y. Sept. 29, 2017)

(quoting Donovan v. Kaszycki & Sons Contractors, Inc., 599 F. Supp. 860, 870 (S.D.N.Y. 1984)). The

standard for determining willful behavior is whether “the employer either knew or showed

reckless disregard for the matter of whether its conduct was prohibited by the statute.”

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988).

        Given the fact-intensive nature of the willfulness inquiry, the Court does not believe that

it can or should be resolved on a motion to dismiss. See Agureyev v. H.K. Second Ave. Rest. Inc.,

No. 17-CV-07336 (HBP), 2018 WL 4356731, at *3 (S.D.N.Y. Sept. 12, 2018) (“Whether plaintiff has

sufficiently shown a willful violation is an issue ordinarily left to the trier of fact; it is not properly

determined in the context of a Rule 12(b)(6) motion to dismiss.”). Plaintiff alleges that “New York

City has, for many years, deliberately ignored the fact that most of its Career and Salary and non-

clerical/non-blue collar employees are eligible for overtime pay under the Fair Labor Standards

Act since many of those in these titles do non-exempt work and are paid in hourly increments.”

(TAC ¶ 9.) Plaintiff also cites FLSA cases previously filed against the City. (See id.) The Court finds

that these allegations are sufficient, particularly in the context of a pre-answer motion, to plead

the requisite willfulness. See Lynch v. City of New York, 291 F. Supp. 3d 537, 554 (S.D.N.Y. 2018)

(finding the existence of other FLSA lawsuits against City raised triable issues as to willfulness).

        Thus, Defendant’s motion to dismiss Plaintiff’s FLSA claim on limitations grounds should

be denied.




                                                    6
       Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 7 of 10




II.     Plausibility Of FLSA Claim

        Defendant next argues that Plaintiff fails to plausibly state a FLSA violation. (Def. Mem. at

6-8.) This argument lacks merit. “[I]n order to state a plausible FLSA overtime claim, a plaintiff

must sufficiently allege 40 hours of work in a given workweek as well as some uncompensated

time in excess of the 40 hours.” Lundy v. Catholic Health Sys. of Long Island Inc., 711 F.3d 106,

114 (2d Cir. 2013) (citing 29 U.S.C. § 207(a)(1)). Here, Plaintiff alleges that, based upon “clock-in”

and “clock-out” records, he worked in excess of 40 hours in certain weeks for which he was not

compensated. (See TAC ¶¶ 11.c., 13-14.) Thus, he has stated a plausible FLSA claim.

III.    New York City Administrative Code Claim

        Plaintiff’s Second Cause of Action is brought under Section 12-108 of the New York City

Administrative Code. (TAC ¶¶ 18-21.) That section provides in relevant part: “[T]he mayor may

authorize the head of any agency to require any . . . group of . . . employees in such agency to

work in excess of the maximum number of hours of employment prescribed for such . . . group

of . . . employees by any statute, general, special or local, provided that each such officer or

employee shall be paid overtime compensation for such work at not less than his or her regular

basic pay rate.” New York City, N.Y., Code § 12-108. Plaintiff alleges that “[a]t all relevant times

the Commissioner of DDC was authorized by the Mayor to require employees to work in excess

of the maximum number of hours (35) prescribed for DDC employees.” (Id. ¶ 19.) Thus, Plaintiff

alleges that, by failing to pay him for his time worked, the City violated Section 12-108. (See id. ¶

21.)

        Defendant argues that Plaintiff does not point to any “‘statute, general, special or local’

establishing 35 hours each week as ‘the maximum number of hours of employment.’” (Def. Mem.



                                                  7
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 8 of 10




at 8.) The Court agrees, and thus Plaintiff’s claim under Section 12-108 should be dismissed. See

Yourman v. Dinkins, 826 F. Supp. 736, 748 (S.D.N.Y. 1993), decision supplemented, 865 F. Supp.

154 (S.D.N.Y. 1994), aff’d, 84 F.3d 655 (2d Cir. 1996), cert. granted, judgment vacated on other

grounds sub nom. Giuliani v. Yourman, 519 U.S. 1145 (1997).7

IV.     Plaintiff’s Common Law Claims

        In Plaintiff’s Third and Fourth Causes of Action, which allege claims for breach of an oral

contract (TAC ¶ 25) and quantum meruit (id. ¶ 28), he seeks damages for his lost wages. (See id.

¶ 29.) As Defendant notes (Def. Mem. at 9-10), a contract or quasi-contract claim for lost wages

by a public employee who has been terminated must be brought in an Article 78 proceeding. See

Finley v. Giacobbe, 848 F. Supp. 1146, 1150 (S.D.N.Y. 1994) (“[W]e conclude that New York law

requires that breach of employment contract claims be brought by article 78 proceedings.”),

aff'd, 79 F.3d 1285, 1292 (2d Cir. 1996) (“It is . . . clear . . . that a successful article 78 proceeding

for reinstatement is a prerequisite to a claim for damages by a discharged public employee.”).8

In his Opposition Memorandum, Plaintiff quotes a portion of the Finley case which addresses

employees who have been suspended, not terminated. (Opp. Mem. at 17.) Employees who are


7
  Although not raised by the City in its motion, Plaintiff’s claim under the City Administrative Code, in any
event, should have been brought under Article 78 of the New York Civil Practice Law and Rules within four
months after his last paycheck. See Menoudakos v. City of New York, 74 A.D.2d 897, 897 (2d Dep’t 1980)
(finding claim under Section 1103-4.0 (now Section 12-108) of the New York City Administrative Code
time-barred by four-month statute of limitations for Article 78 proceedings, N.Y. C.P.L.R. § 217); see also
Turner v. New York Div. of State Police, 148 A.D.3d 1335, 1336 (3d Dep’t 2017) (“If, as petitioner claims,
respondent failed to pay him overtime due for that time period, it was incumbent upon petitioner to
commence a CPLR article 78 proceeding within four months after the receipt of his last paycheck inasmuch
as his claim for overtime back pay continuously accrued upon his receipt of each paycheck between 2008
and 2012.”).
8
 Article 78 proceedings may encompass both claims sounding in breach of contract, as well as quasi-
contractual claims like unjust enrichment and quantum meruit. See, e.g., Broderick v. Bd. of Educ.,
Roosevelt Union Free Sch. Dist., 253 A.D.2d 836, 837 (2d Dep’t 1998).


                                                     8
      Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 9 of 10




“under suspension” may “maintain actions at law for back salary withheld in contravention of

their rights under the New York Civil Service Law.” Finley, 79 F.3d at 1292. However, as the Second

Circuit held, when a public employee has been discharged, a successful Article 78 proceeding

must be brought before a claim for damages. Finley, 79 F.3d at 1292; see also Ingrassia v. Cty. of

Sullivan, New York, 262 F. Supp. 2d 116, 120 (S.D.N.Y. 2003).

       As noted in footnote 7, supra, Article 78 proceedings are governed by a four-month

statute of limitations. See N.Y. C.P.L.R. § 217. That statute of limitations has long since lapsed

since Plaintiff received his last paycheck on June 2, 2017. See Turner, 148 A.D.3d at 1336 (“it was

incumbent upon petitioner to commence a CPLR article 78 proceeding within four months after

the receipt of his last paycheck”). Thus, I recommend that the Third and Fourth Causes of Action

be dismissed.

                                          CONCLUSION

       For the foregoing reasons, I respectfully recommend that Defendant’s motion to dismiss

the Third Amended Complaint be GRANTED IN PART and DENIED IN PART, as follows:

       1. Defendant’s motion to dismiss Plaintiff’s First Cause of Action should be denied; and

       2. Defendant’s motion to dismiss Plaintiff’s Second, Third and Fourth Causes of Action

           should be granted and those causes of action should be dismissed in their entirety.

SO ORDERED.

DATED:          January 22, 2020
                New York, New York


                                              STEWART D. AARON
                                              United States Magistrate Judge




                                                9
     Case 1:19-cv-05204-JPC-SDA Document 52 Filed 01/22/20 Page 10 of 10




                                 *               *               *

 NOTICE OF PROCEDURE FOR FILING OBJECTIONS TO THIS REPORT AND RECOMMENDATION

       The parties shall have fourteen (14) days (including weekends and holidays) from service

of this Report and Recommendation to file written objections pursuant to 28 U.S.C. § 636(b)(1)

and Rule 72(b) of the Federal Rules of Civil Procedure. See also Fed. R. Civ. P. 6(a), (d) (adding

three additional days when service is made under Fed. R. Civ. P. 5(b)(2)(C), (D) or (F)). A party

may respond to another party’s objections within fourteen days after being served with a copy.

Fed. R. Civ. P. 72(b)(2). Such objections, and any response to objections, shall be filed with the

Clerk of the Court. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72(b). Any requests for an

extension of time for filing objections must be addressed to Judge Torres.

       FAILURE TO OBJECT WITHIN FOURTEEN (14) DAYS WILL RESULT IN A WAIVER OF

OBJECTIONS AND WILL PRECLUDE APPELLATE REVIEW. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

6(a), 6(d), 72(b); Thomas v. Arn, 474 U.S. 140 (1985).




                                                 10
